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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


DORY TURNIPSEED                                                  CIVIL ACTION


VS.                                                              NO: 18-5187


APMT, LLC d/b/a “Tonti Management”                               SECTION: “J” (4)
____________________________________/                            JURY TRIAL REQUESTED



          FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

       COMES NOW Plaintiff, DORY TURNIPSEED, through undersigned counsel, who

brings this action against Defendant APMT, LLC d/b/a "TONTI MANAGEMENT" stating that:

                              JURISIDICTION AND VENUE

   1. This Court has original jurisdiction pursuant to 11 U.S.C. § 1331 because this lawsuit is

       brought under the Fair Housing Amendments Act (“FHHA”), 42 U.S.C. § 3601 et seq.

   2. Venue is proper in the Eastern District of Louisiana, New Orleans Division, under 28

       U.S.C. § 1391(b) in that the events giving rise to this action occurred in this judicial

       district.

                              PARTIES AND PROPERTIES

   3. At the time of filing Plaintiff, DORY TURNIPSEED (hereinafter “TURNIPSEED” or

       “Plaintiff”), resides in Sunlake Apartments located at 854 Joe Yenni Blvd. APT 23,

       Kenner, Louisiana, 70065.
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4. Defendant, APMT, LLC d/b/a "TONTI MANAGEMENT" (hereinafter "TONTI" or

   "Defendant"), is a Louisiana Limited Liability Corporation located at 4433 Conlin Street,

   Metairie, Louisiana, 70006. At all times relevant, TONTI was the managing agent of

   Sunlake Apartments and provided on-site property management of Sunlake Apartments.

5. The apartment units at TONTI are “dwelling[s]” within the meaning of 42 U.S.C. §

   3602(b), FHA and as such, are subject to the anti-discrimination provisions of the FHA.

                                 GENERAL ALLEGATIONS

6. TURNIPSEED suffers from and has a history of suffering from a “handicap” as defined

   by the FHA, 42 U.S.C. § 3602(h).

7. Specifically, TURNIPSEED suffers from and has a history of suffering from depression

   with suicidal ideations, a Generalized Anxiety Disorder and Attention Deficit

   Hyperactivity Disorder, mental impairments that substantially affect her major life

   activities, including sleeping and concentrating.

8. TURNIPSEED has also suffered many traumatic events in her personal life and in her

   former job as an Emergency Medical Technician (EMT) and suffers frequent flashbacks

   to these events.

9. TURNIPSEED was first diagnosed with depression and anxiety while in college and has

   experienced panic attacks so severe that she lost consciousness.

10. TURNIPSEED is and has been a patient of the Ochsner Psychiatry Resident Program for

   more than three (3) years.

11. TURNIPSEED has owned a mixed breed dog, "Sasha," since 2013. Sasha weighs

   approximately thirty-five (35) lbs.




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12. In April 2018, TURNIPSEED decided to try again to live independently of her parents,

   and on April 13, 2018 signed a six-month lease with TONTI for her current residence in

   Sunlake Apartments.

13. TURNIPSEED's parents had agreed that Sasha could continue living with them at their

   house after TURNIPSEED moved into her apartment. Accordingly, TURNIPSEED did

   not ask for permission to have Sasha at Sunlake Apartments, or complete Sunlake

   Apartment's "Animal Disclosure and Animal Lease Addendum."

14. After TURNIPSEED began to live alone in her apartment, the symptoms of her anxiety

   disorder substantially worsened. She has been extremely anxious, unable to sleep or

   concentrate, and is plagued by constant flashbacks to the death of a close friend by

   suicide. She is also having flashbacks to extremely disturbing situations she encountered

   as an EMT.

15. TURNIPSEED has been unable to manage the symptoms of her disabilities. She

   discovered that the only time her symptoms are minimized is when she is accompanied

   by her dog, Sasha.

16. TURNIPSEED consulted Dr. Jeffrey Friedman, a licensed clinical social worker. Dr.

   Friedman conducted a psychological evaluation of TURNIPSEED which included an

   interview and review of her lengthy mental health history indicating an ongoing struggle

   with mental impairments, as well as the treatment regimen and medication she had been

   prescribed for such impairments. Dr. Friedman wrote a letter verifying Plaintiff's

   disability related need to live with Sasha for emotional support. The interview portion of

   the psychological evaluation was conducted by telephone because Dr. Friedman’s office

   is in South Florida.



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17. On May 9, 2018, TURNIPSEED contacted TONTI through an electronic portal for

   residents and requested that she be allowed to live with Sasha as an emotional support

   animal at her apartment.

18. TURNIPSEED received a telephone call from Ms. Sherri Roane (hereinafter “Ms.

   Roane”), an Administrative Assistant for TONTI, who asked TURNIPSEED to email

   documentations verifying that she required an emotional support animal.

19. Per the request, TURNIPSEED emailed Ms. Roane the letter from Dr. Friedman, Sasha's

   vaccination records, adoption and training records, and summaries of TURNIPSEED’s

   psychiatric appointments dating back to April 9, 2015. Dr. Friedman's letter and the

   other material she submitted to TONTI are attached as Exhibit A.

20. On May 10, 2018, TURNIPSEED emailed Ms. Roane to ask for an update, stating she

   did not know how long the process usually takes and adding "I apologize for my

   impatience, I have been struggling to cope." Her email is attached as Exhibit B.

21. Later, on May 10, 2018, TURNIPSEED received a telephone call at her place of

   employment from Ms. Roane and another TONTI employee. The tone of the

   conversation was hostile and accusatory, causing TURNIPSEED to burst into tears. At

   the end of the telephone, call Ms. Roane indicated that TURNIPSEED would be provided

   additional paperwork from TONTI to complete.

22. On May 12, 2018, TURNIPSEED became increasingly anxious and was fearful that she

   posed a danger to herself. TURNIPSEED went to her parents' home, picked up Sasha,

   and brought the dog to her apartment to help her cope with her extreme anxiety.

23. On May 14, 2018, TURNIPSEED emailed Ms. Roane to inform her that TURNIPSEED

   had not received any paperwork from TONTI regarding her accommodation request.



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   TURNIPSEED also informed Ms. Roane she had needed to speak with her therapist over

   the weekend "because the anxiety of waiting and anticipation was becoming unbearable

   to the point where I feared becoming a danger to myself." TURNIPSEED made Ms.

   Roane aware that she had picked up Sasha. Her May 14, 2018 email is attached as

   Exhibit C.

24. Later that evening, a notice entitled "ANIMAL VIOLATION" was placed on the door of

   TURNIPSEED's apartment stating that TURNIPSEED would be required to pay a

   $600.00 non-refundable animal fee and an additional $450.00 security deposit. The notice

   further warned that if TURNIPSEED's animal is not approved or if she failed to pay the

   $1,050.00 within 24 hours, "the charges per your lease of two times the applicable animal

   fee and an additional security deposit will apply, regardless of whether you remove the

   animal, and Lessor will ask for return of premises." The notice is attached to this

   complaint as Exhibit D.

25. After the notice regarding an "unapproved animal" was posted on her door,

   TURNIPSEED posted a reply to the notice on the management office door explaining

   that she was in the process of having Sasha approved through a reasonable

   accommodation request, but due to a decline in TURNIPSEED’s mental stability it

   became necessary to bring Sasha to her apartment prior to obtaining approval. The

   response, attached hereto as Exhibit E, reiterated: "As I have explained to Ms. Roane, I

   am not attempting to circumvent your rules. I do suffer from mental disabilities which

   greatly affect my ability to function in day to day life." TURNIPSEED included a copy of

   the letter from Dr. Jeffrey Friedman, his contact information, and the email

   correspondence with Ms. Roane.



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26. The next day, May 15, 2018, TURNIPSEED received a letter via email from James C.

   Rather, Jr., counsel for TONTI (hereinafter “Mr. Rather”), essentially accusing

   TURNIPSEED of faking her need for an emotional support animal based upon the fact

   that on her application for the apartment TURNIPSEED had indicated she had no

   animals, and "the social worker's letter appears to have been purchased of the internet."

   Mr. Rather further threatened TURNIPSEED with eviction if she did not pay $1,050.00

   within 48 hours and "cease and desist from bringing any unauthorized animals onto the

   property." His letter informed TURNIPSEED that her request for accommodation was

   being denied because it "fails to satisfy the elements of the FHA," and, without

   explaining what additional information TONTI deemed necessary to "satisfy the elements

   of the FHA" invited TURNIPSEED to submit additional information to him by "no later

   than the close of business tomorrow so we may continue this collaborative process."

   The letter from Mr. Rather is attached hereto as Exhibit F.

27. TURNIPSEED replied to Mr. Rather by email, advising that Dr. Friedman's letter was

   not purchased off the internet and that Dr. Friedman is "more than happy" to speak with

   him. Later she further replied to Mr. Rather, advising him that she was returning Sasha

   back to her parent’s house. The emails are attached as Exhibit G.

28. Mr. Rather failed to contact Dr. Friedman regarding TURNIPSEED's need for an

   emotional support animal, and on May 16, 2018 reiterated to TURNIPSEED via email

   his assumption that her request was illegitimate:

          "Based upon what you have submitted thus far, it does not appear
          Mr Friedman is your therapist. He is a Florida social worker you
          sought out on the Internet for the sole purpose of purchasing an
          ESA letter, as your treating physician refused to issue one. Mr.


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           Friedman sold you the letter despite the fact you have never met
           him and spoke to him by phone only once. " (Exhibit H)


29. Later, on May 16, 2018, Plaintiff’s Counsel contacted Mr. Rather regarding why

   TURNIPSEED had not indicated that she had a pet when applying for an apartment.

   Plaintiff’s counsel cited Dr. Friedman's qualifications for rendering an opinion regarding

   TURNIPSEED's disability related need for an accommodation, and informed Mr. Rather

   that he was incorrect in his assumption that Dr. Friedman's opinion that TURNIPSEED

   needed an emotional support animal was based solely upon her having only "spoke to

   him briefly by telephone." Her correspondence, transmitted to Mr. Rather via email, is

   attached to this complaint as Exhibit I.

30. Plaintiff’s counsel's correspondence unsuccessfully attempted to educate Mr. Rather

   regarding the permissible scope of inquiry by a housing provider that has been asked to

   grant a request for accommodation of an emotional support animal, and demanding

   confirmation that TONTI has waived any policy that would prevent TURNIPSEED from

   residing with her dog, Sasha, as an accommodation of her disabilities within 48 hours.

   (Please see Exhibit I.)

31. Plaintiff’s counsel did not enjoy the courtesy of a response from Mr. Rather. Instead, on

   May 18, 2018, Plaintiff received an email from Ms. Roane stating:

           “We are sending a final inquiry to ask if you intend to submit any
           other documents or information related to your request for Sasha to
           live with you.    If so, please provide that information no later
           Monday May 21, 2018 at noon.


           If we do not receive any additional information or notification
           from you by Monday May 21, 2018 at noon we will assume you do

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          not wish to provide additional documentation or information and
          that you do not intend to pay the $1,050 balance.”


32. TURNIPSEED responded to Ms. Roane by informing her that she is represented by

   counsel and has been advised not to communicate with TONTI regarding Sasha.

   Nonetheless, Ms. Roane replied again:

          “We would like to extend to you the offer for you to termite (sic)
          your lease with a 48-hour notice if you feel that would be in your
          best interest.


          I have attached the Intent to Vacate form should you wish to use it.
          Tonti will waive any notice fees or cancellation fees.”


33. On May 23, 2018 TONTI sued TURNIPSEED for eviction.

34. On June 3, 2018 TURNIPSEED was so distraught over her pending eviction that she was

   involuntarily committed to Seaside Behavioral Hospital for Major Depression so acute

   TURNIPSEED was deemed a danger to herself.

35. Upon TURNIPSEED's release from SEASIDE BEHAVIORAL HOSPITAL almost a

   week later, TURNIPSEED's counsel provided TONTI a copy of TURNIPSEED's

   discharge instructions and a letter from SEASIDE BEHAVIORAL HOSPITAL's Staff

   Psychiatrist Dr. Mike Mahony MD requesting that TURNIPSEED be allowed to live with

   her emotional support animal. (EXHIBIT J)

36. On June 11, 2018 TURNIPSEED through counsel requested that, in light of

   TURNIPSEED's involuntarily commitment because of TURNIPSEED's deteriorated

   mental state, TONTI reconsider its denial of TONTI's refusal to waive the 25 lb weight




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   limit "so that Ms. Turnipseed may have the therapeutic benefit of residing with her dog

   Sasha for emotional support." (EXHIBIT J)

37. Notwithstanding its awareness that TURNIPSEED's mental health had deteriorated to the

   point where she was involuntarily committed to a mental hospital, and having been

   provided a letter from SEASIDE BEHAVIORAL HOSPITAL's Staff Pyschiatrist Dr.

   Mike Mahony MD requesting that TURNIPSEED be allowed to live with her emotional

   support animal, TONTI's counsel responded by asking that TURNIPSEED execute a

   release "allowing my client to contact her healthcare providers to verify the disability as

   permitted by the FHA. " (EXHIBIT K)

38. Efforts to educate TONTI's counsel that contacting TURNIPSEED's health care providers

   is not "permitted by the FHA" and is actually expressly forbidden by HUD guidance, ("A

   housing provider also may not ask an applicant or tenant to provide access to medical

   records or medical providers or provide detailed or extensive information or

   documentation of a person's physical or mental impairments." (emphasis in the original))

   was futile. EXHIBIT L.

39. On June 18, 2018 TONTI successfully obtained an order evicting TURNIPSEED, whom

   TONTI knew was struggling with mental illness, the symptoms of which were so severe

   TURNIPSEED had been hospitalized until 10 days prior to the eviction proceeding.

40. Defendant has at all times relevant had actual knowledge of TURNIPSEED's disability-

   related need to live with Sasha as her assistance animal.

41. TONTI has denied Plaintiff’s request for accommodation and evicted her without asking

   for any specific additional information regarding Plaintiff's disability or disability related

   need for an accommodation.



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42. TURNIPSEED has been injured by TONTI's discriminatory housing practices and

   therefore qualifies as an “aggrieved person” pursuant to 42 U.S.C. § 3602(i).

43. TURNIPSEED has retained undersigned counsel and is obligated to pay a reasonable fee

   for their services.

44. TURNIPSEED has complied with all necessary conditions precedent to the bringing of

   this action, or such conditions have been waived.

                                CLAIMS FOR RELIEF

           COUNT I: FAILURE TO REASONABLY ACCOMMODATE
                         42 U.S.C. § 3604(f)(3)(B)


45. Plaintiff re-alleges and incorporates, by reference, paragraphs 1 through 44 as if fully set

   forth herein.

46. TURNIPSEED has a disability related need to live with her dog, Sasha, an emotional

   support animal.

47. At all times relevant to this action, TONTI has had actual knowledge of TURNIPSEED 's

   disability.

48. TURNIPSEED requested a waiver of TONTI's policy disallowing animals that weigh

   over twenty-five (25) pounds so that she may reside with her dog, Sasha, and benefit

   from the emotional support that Sasha provides.

49. TURNIPSEED provided reliable verification of her handicap and disability-related need

   for an accommodation.

50. TONTI refused to grant TURNIPSEED the requested accommodation, threatened

   TURNIPSEED that if TURNIPSEED did not pay $1050.00 or brought her emotional

   support animal to her apartment, and then evicted her.



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   51. TONTI's failure to waive its weight restriction and requirement for a non-refundable pet

       deposit to accommodate for TURNIPSEED’s disabilities is discriminatory and unlawful.

   52. TONTI's actions and conduct constitute a conscious and reckless disregard for

       TURNIPSEED 's rights and show total indifference to TURNIPSEED’s disabilities.

   53. Providing an accommodation to TONTI's policies so TURNIPSEED may live in her

       apartment with Sasha as an emotional support animal would not: 1) result in substantial

       physical damage to the property of others; 2) pose an undue financial and administrative

       burden; or 3) fundamentally alter the nature of the Tonti's operations.

   54. TONTI violated 42 U.S.C. § 3604(f)(3)(B), FHA, through its conduct and acts described

       above by refusing to make reasonable accommodations in its rules, policies, practices, or

       services, when such accommodations are necessary to afford TURNIPSEED an equal

       opportunity to use and enjoy her dwelling.

   55. As a direct and proximate result of TONTI's failure to accommodate, TURNIPSEED's

       symptoms have worsened. TURNIPSEED has suffered irreparable loss and injury

       including, but not limited to, mental anguish, loss of dignity, emotional distress,

       humiliation, and loss of her right to equal housing opportunities regardless of disability.

   56. TONTI's discriminatory conduct and actions were intentional, willful, and taken in

       blatant disregard of TURNIPSEED’s rights.

     WHEREFORE, Plaintiff, DORY TURNIPSEED, demands judgment against Defendant,

APMT, LLC d/b/a "TONTI MANAGEMENT," to declare that its actions, omissions, and

policies violated the Fair Housing Act by discriminating against a person with disabilities, and to

award TURNIPSEED compensatory and punitive damages, attorney’s fees and costs, injunctive

relief, and any other relief as justice may require.



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                                      COUNT II
                            INTIMIDATION, 42 U.S.C. § 3617 FHA


57. Plaintiff re-alleges and incorporates, by reference, paragraphs 1 through 44 as if fully set

   forth herein.

58. Plaintiff's dog, Sasha, provides her with emotional support that helps ameliorate the

   symptoms of her disabilities. Accordingly, Sasha is an assistance animal, not a pet.

59. Plaintiff was charged $1050.00 and evicted for exercising her Fair Housing Act rights by

   bringing her emotional support animal to her apartment in a period of acute mental crisis.

60. TONTI was aware of Plaintiff's disabilities and disability related need for her dog as well

   as her fragile mental state when it fined Plaintiff and evicted her.

61. TONTI, through its conduct and actions described above, violated 42 U.S.C. § 3617 FHA

   by coercing, intimidating, threatening, or interfering with Plaintiff in the exercise and

   enjoyment of her fair housing rights granted under the FHA.

62. As a result of the conduct of Defendant, TONTI, Plaintiff TURNIPSEED has suffered

   damages.

63. As a direct and proximate result of TONTI's illegal intimidation tactics, TURNIPSEED's

   symptoms have worsened. TURNIPSEED has suffered irreparable loss and injury

   including, but not limited to, mental anguish, loss of dignity, emotional distress,

   humiliation, and loss of her right to equal housing opportunities regardless of disability.

64. The discriminatory conduct or actions of TONTI were intentional, willful, and taken in

   blatant disregard for the rights of Plaintiff.



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       WHEREFORE, Plaintiff, DORY TURNIPSEED, seeks a declaration that the actions of

APMT, LLC d/b/a "TONTI MANAGEMENT" violated the Fair Housing Amendments Act by

discriminating against a person with disabilities and seeks an award to Plaintiff of compensatory

and punitive damages, and their attorneys' fees and costs as well as any other such relief as this

Court deems just and equitable.

                                   COUNT III
             MAKING A DWELLING UNAVAILABLE BECAUSE OF HANDICAP
                           42 U.S.C. § 3604(f)(1)(A) FHA

   65. Plaintiff re-alleges and incorporates, by reference, paragraphs 1 through 44 as if fully set

       forth herein.

   66. Plaintiff requires the ability to live with her emotional support animal, Sasha, in order to

       have the same opportunity to enjoy her dwelling within Sunlake Apartments as any non-

       disabled resident.

   67. Defendant, knowing of TURNIPSEED'S disability related need to live with Sasha,

       nonetheless evicted her because after requesting permission to have an emotional support

       animal she bought the her emotional support animal Sasha to her apartment.

   68. The foregoing conduct and acts of Defendant constitutes discrimination against a person

       in violation of 42 U.S.C. § 3604(f)(1)(A), FHA, by making a dwelling unavailable

       because of a handicap.

   69. As a result of the conduct of Defendant, TURNIPSEED has suffered irreparable loss and

       injury including, but not limited to, mental anguish, loss of dignity, emotional distress,

       humiliation, and loss of her right to equal housing opportunities regardless of disability.

   70. The discriminatory conduct or actions of Defendant was intentional, willful, and taken in

       blatant disregard for the rights of Plaintiff.



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       WHEREFORE, Plaintiff, DORY TURNIPSEED, seeks a declaration that the actions of

APMT, LLC d/b/a "TONTI MANAGEMENT" violated the Fair Housing Amendments Act by

discriminating against a person with disabilities and seeks an award to Plaintiff of compensatory

and punitive damages, and their attorneys' fees and costs as well as any other such relief as this

Court deems just and equitable.

                                                DEMAND

       WHEREFORE, Plaintiff, DORY TURNIPSEED, demands judgment against Defendant,

APMT, LLC d/b/a "TONTI MANAGEMENT" which:

           a. Declares the discriminatory housing practices of Defendant, as set forth above,

               violate the FHAA, 42 U.S.C. § 3601 et seq.;

           b. Enjoins Defendant from discriminating against any person based upon handicap

               by refusing to make a reasonable accommodation when such accommodation may

               be necessary to afford a person with a handicap an equal right to enjoy a dwelling;

           c. Awards Plaintiff compensatory and punitive damages as would fully compensate

               her for the discriminatory conduct of Defendant;

           d. Awards Plaintiff her attorney’s fees and costs incurred in bringing this action to

               enforce the FHAA, and

           e. Grants any other such relief as this Court deems just and equitable.



                                                      Respectfully submitted,


                                                      /s/ Sherri L. Hutton________________
                                                      Sherri L. Hutton (LSBA #28369)
                                                      Counsel for Plaintiff, Dory Turnipseed


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                                 CERTFICATE OF SERVICE

    The undersigned certifies that a true copy of the foregoing has been served on this 20th day
of June 2018 via the Court’s CM/ECF system to all counsel of record.


                                                      /s/ Marcy LaHart




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